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June 1, 2021

VIA CM/ECF
The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 26, Room 6124
Wilmington, DE 19801-3555

      Re:         AstraZeneca Pharmaceuticals LP v. Becerra, et al., C.A. No. 21-27-LPS

Dear Chief Judge Stark:
       At the conclusion of last week’s hearing, Your Honor raised the “level of urgency” in
deciding the cross-motions before the Court. Cognizant of the Court’s caseload, we write to advise
the Court that late this morning, the Health Resources and Services Administration (HRSA)
granted AstraZeneca an extension until June 10, 2021, to respond to the May 17 th letter. While
AstraZeneca continues to consider the issues before the Court extremely time-sensitive, we felt it
appropriate to alert the Court to the short extension afforded by HRSA.
        Counsel are available at the Court’s convenience should Your Honor have any questions.
Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc:     Counsel of Record (via Electronic Mail)




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